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IN THE UNITED STATES DISTRICT COURT. CLERK

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FOR THE DISTRICT OF COLUMBIAY "17°11. EANKRUPTCY

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Plaintiff,
V.

OFFICE OF THE ATTORNEY GENERAL
U.S. Department of Justice,

OFFICE OF THE DEPUTY ATTORNEY GENERAL
U.S. Department of Justice,

No. 21-Civ-1751 (RDM)
OFFICE OF PROFESSIONAL RESPONSIBILITY
U.S. Department of Justice,

 

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EXECUTIVE OFFICE FOR IMMIGRATION
REVIEW, U.S. Department of Justice,

 

 

OFFICE OF INFORMATION POLICY
U.S. Department of Justice,

 

Angela D. Caesar, Clerk of Court
U.S. District Court, District of Columbia

 

 

 

Defendants.

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PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
FOR LACK OF JURISDICTION AND FAILURE TO STATE A CLAIM
On October 12, 2021, Defendants moved to dismiss the Plaintiff's complaint of
discrimination for lack of subject matter jurisdiction and failure to state a claim under Fed. R. Civ.
P. 12(b)(1) & (6). For the reasons discussed below, Plaintiff respectfully requests that the Court

deny Defendants’ Motion to Dismiss and permit the parties to proceed with discovery.

I. PLAINTIFF HAS PLEADED ACTIONABLE ADVERSE EMPLOYMENT
ACTIONS.
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The premise of Defendants’ Motion to Dismiss is that many of Plaintiffs claims are not
actionable, because they are not “adverse employment actions.” This argument is unavailing. In
September 2020, Plaintiff lost a job that she had been performing satisfactorily for 12 years,
because of unlawful discrimination. Her discharge was wrongful. There can be no dispute that a
wrongful discharge is the most serious adverse personnel action that could be visited on a federal

employee.

As will be discussed, the adverse actions that Defendants took against Plaintiff between
2015 and September 2020 were part of a well-orchestrated scheme to remove her from the federal
service so that her full-time employment (FTE) position could be given to an external immigration.
judge candidate whom Defendants favored. The Court need not look further than the adverse
actions that began in 2015 to find extreme discriminatory animus that was manifested in the most

egregious way.
A. The Judicial Definition of “Adverse Employment Action”

Disparate treatment occurs when an employer treats certain people less favorably than
others on the basis of a protected classification such as race. Int’] Brotherhood of Teamsters v.
United States, 431 U.S. 324, 355 n. 15 (1977). Because federal anti-discrimination statutes are
remedial, they are to be liberally construed in favor of the victims of discrimination. See
Witherspoon v. Roadway Express, Inc., 782 F. Supp. 567, 572 (D. Kan. 1992). See also Palmer
v. Shultz, 815 F.2d 84, 97-98 (D.C. Cir. 1987). Accordingly, a proper inquiry into each discrete
act of alleged discriminatory treatment “must focus on the circumstances surrounding the adverse

personnel action.” McKenna v. Weinberger, 729 F.2d 783, 789 (D.C. Cir. 1984).
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To establish a prima facie case of disparate treatment, Plaintiff must show that (1) she
belongs to a protected class; (2) she suffered an adverse employment action; and (3) the adverse
employment action occurred under circumstances giving rise to an inference of discrimination.
Douglas v. Pierce, 707 F. Supp. 567, 571 (D.D.C. 1998), aff'd sub nom. Douglas v. Kemp, 906
F.2d 783 (D.C. Cir. 1990) (citing McDonnell Douglas Corp. v. Green, 411 U.S.C. 792, 802 n. 13
(1973)). A reasonable inference of unlawful discrimination can be drawn from disparate treatment
of Plaintiff as compared with others who are not members of her protected class who “have dealt
with the same supervisor, have been subject to the same standards and have engaged in the same
conduct without such differentiating or mitigating circumstances that would distinguish their
conduct or the employer’s treatment of them for it.” Roberts v. Segal Company, 125 F. Supp. 2d
545 (D.D.C. 2000) (quoting Phillips v. Holladay Property Servs., Inc., 937 F. Supp. 32, 37 (D.D.C.

1996).

While no particular type of personnel action is automatically excluded from serving as the
basis for a Title VII claim, see Cones v. Shalala, 199 F.3d 512 (D.C. Cir. 2000), this Court has
held that a plaintiff must show that the employment action caused “a tangible change in the duties
or working conditions constituting a material employment disadvantage.” Walker v. WMATA,
102 F. Supp.2d 24, 29 (D.D.C. 2000) (citation omitted). “A tangible employment action” is one
that effectuates “a significant change in employment status, such as hiring, firing, failing to
promote, reassignment with significantly different responsibilities, or a decision causing a
significant change in benefits.” Burlington Industries, Inc. v. Ellerth, 742, 761 (1998). See also
Brown v. Brody, 199 F.3d 446, 457 (D.C. Cir. 1999) (an “employment decision does not rise to
the level of an actionable adverse action ... unless there is a tangible change in the duties or

working conditions constituting a material employment disadvantage.”); Mungin v. Katten
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Muchin Zavis, 116 F.3d 1549, 1557 (D.C. Cir. 1997) ("changes in assignments and work-related
duties do not ordinarily constitute adverse employment decisions if unaccompanied by a decrease

in salary or work hour changes").

Plaintiff's removal from federal service in September 2020 was the culmination of a five-
year campaign to purge her from the Arlington Immigration Court. Plaintiff was removed despite
her performance record, not because of it. Before coming to EOIR, she had a solid track record of
achievements and no disciplinary record. Exh. 16, at 7-36. After coming to EOIR, she received
overall satisfactory performance ratings every year until the time she was discharged. Thus, this
civil action is not about minor inconveniences or everyday annoyances that animated her
workplace. See, e.g., Childers v. Slater, 44 F. Supp. 2d 8, 19 (D.D.C. 1999). Rather, it is about
the ultimate decision to terminate her employment after 29 years of exemplary service to the
Justice Department in the most grievous way. The discussion below shows that a discriminatory
motive can be inferred from the numerous adverse actions to which Plaintiff was subjected during
her 12-year tenure at EOIR. Moreover, direct evidence of Defendants’ discriminatory animus can

be found in the “BAIN FOIA 2015” folder. See Exh. 14.

B. Each Discrete Act of Discriminatory Treatment Leading Up to
Plaintiff’s Removal Was an Adverse Employment Action.

Plaintiff s December 2015 formal complaint asserts discrimination on the basis of her race,
national origin, sex, disability status, and reprisal. The allegations pertaining to race, national
origin, sex, and reprisal were brought under Title VII of the Civil Rights Act of 1964, as amended.
See 42 U.S.C. 2000¢ et seq. In her formal complaint filed with the EEOC, Plaintiff alleged that the
responsible management officials (RMO’s) treated her disparately because of her race (Asian),

national origin (Vietnamese), sex (female), or disability or serious medical condition.
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The disability-based claim was brought under the Rehabilitation Act of 1973, 29 U.S.C.
794 et seq., which protects individuals with a disability, defined as someone who (1) has a physical
or mental impairment which substantially limits one or more of such person’s major life activities;
(2) has a record of such an impairment; or (3) is regarded as having such an impairment. 29 C.F.R.
1630.2(g). The migraine headaches that Plaintiff intermittently suffered at work, while conducting
court hearings using dated and frequently malfunctioning tele-videoconference (VTC) equipment,
were temporarily disabling in that they occurred in the workplace and remitted when she left her

assigned courtroom or took medication to control the pain.

Finally, her ADEA claim rests upon the reasonable relief that Defendants further
discriminated against Plaintiff on the basis of her age. The responsible management officials
(RMO’s) who committed the discriminatory adverse personnel actions (i.e., ACIJ’s Santoro and
Nadkarni, Director McHenry) were all younger than Plaintiff. The four new white male judges

they installed in the Arlington court after they ousted Plaintiff in 2020 were also much younger.

e January 2015 email

On January 5, 2015, Assistant Immigration Judge Mary Beth Keller unexpectedly sent
Plaintiff an email that was highly critical. The email chastised Plaintiff for communicating by
email with Judge Keller two months earlier, in manner that she characterized as “rude” and

“disrespectful.” Exh. 13, at 2.

EOIR would later claim that the Keller email was not an adverse action but rather a benign
attempt to correct perceived deficiencies in Plaintiff's behavior. But considering ACIJ Keller’s
accusatory tone, her email was pretextual. Under the CBA, disciplinary actions were to follow a

policy of progressive discipline. An EOIR manager may not impose discipline on a judge who
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has no prior disciplinary record, unless the manager has first employed remedial measures to
improve performance. Exh. 18, at 2-8. The CBA provided that verbal or written counseling was
a remedial measure, while a reprimand was a disciplinary sanction. Since Plaintiff had no prior
disciplinary record (either before or after coming to EOIR), ACIJ Santoro could not have issued a
reprimand in March 2015, unless he first employed a remedial measure such as counseling. Judge
Keller’s January 2015 email “checked that box” for ACIJ Santoro’s March 2015 reprimand. Direct
evidence of their discriminatory intent in issuing the reprimand can be found in the “BAIN FOIA

2015” folder. Exh. 14,

e March 16, 2015 reprimand

 

In early March 2015, Plaintiff attempted to return a three-year-old detained case to the
resident judge in the York court that had been reassigned to her. The resident judge, a white male
in his sixties, was originally assigned to the case, was familiar with its procedural history and
factual background, and thus was in a better position to complete it. Exh. 13, at 52-53. In response,
ACIJ Santoro demanded an explanation why Plaintiff returned case 933 to the resident judge. He
then attacked her response as incredible, criticized her choice of words, and concluded that her
alleged “intemperate behavior” warranted a stern response. Exh. 13, at 2-53. The reprimand
further accused Plaintiff of lying when she stated that case 933 was initially assigned to the resident
judge, and that he reassigned the case to a second judge who reassigned it to Plaintiff a day or two
before the evidentiary hearing. The underlying email exchange, however, confirmed that Plaintiff

was telling the truth. Exh. 13, at 31.

The reprimand was the very first disciplinary sanction that Plaintiff received in her then
twenty-fourth year of public service. It was indisputably an adverse personnel action. See

Crenshaw v. Georgetown Univ., 23 F. Supp. 2d 11, 17 (D.D.C. 1998), aff’d without opinion, 194

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F.3d 173 (D.C. Cir. 1999) (“[T]he touchstone in determining whether an employment decision
implicates the terms, conditions, or privileges of employment is whether the plaintiff has suffered
a materially adverse action that undermines [his] ability to perform [his] job satisfactorily or
threatens [his] prospects of future employment.”). Cf Childers v. Slater, 44 F. Supp.2d 8, 20
(D.D.C. 1999) (holding that “[a] reprimand that amounts to a mere scolding, without any

disciplinary action which follows, does not rise to the level of adverse action.”).

In the short-term, the reprimand impaired Plaintiffs ability to perform her job. She was
the only Headquarters court judge who was assigned to an all-videoconference, all-detained case
docket. As a result of the reprimand, she had to continue working in the videoconference court
for an additional year and continued to suffer migraine headaches that necessitated a second period
of FMLA leave in April 2015. In the long term, the reprimand impaired Plaintiff's employment
status. It was placed in her personnel file as a disciplinary record and had a three-year effective
period. It was subsequently used multiple times to support and justify additional adverse personnel

actions, including the denial of her request for a court transfer. Exh. 14, at 75, 82.

Documents Plaintiff from the “BAIN FOIA 2015” folder confirm that the reprimand was
motivated by ACIJ Santoro’s discriminatory animus. In the days leading up to the reprimand, he
made disparaging remarks about Plaintiff's medical condition and her conduct of detained court
hearings. The documents also suggest that the reprimand was racially motivated. Exh. 14 at 20-
21, 29-33, 34, 51, 56, 62, and 89. No other judge in the Headquarters or Arlington court had ever
received a reprimand from ACIJ Santoro, for any reason. The documents further show that when
those judges displayed hostile, rude, intimidating, or contemptuous behavior, they received

nothing more than a “slap-on-the-wrist, don’t-do-it-again” counseling email. And if they did do it
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again, they merely received another counseling email that was just as apologetic as it was

admonishing. Exh. 14 at 177-207.

e June 2015 counseling letter

In May 2015, after Plaintiff returned from FMLA leave, she began traveling to the York,
Pennsylvania Immigration Court to conduct detained court hearings in person. ACIJ Santoro had
authorized seven trips for the Summer of 2015, but while he was away on a two-week vacation in
June 2015, VTC equipment failure necessitated an additional two trips. With the consent of the
York court administrator, Plaintiff made travel arrangements for the two trips using a new software
program, E2 Solutions, that the Agency began using three months earlier. She obtained pre-
approval for the two trips from the designated travel approvers and believed that she had
authorization to travel. Exh. 15, at 3-7. Upon his return to the office, however, ACIJ Santoro
issued a counseling letter that accused Plaintiff of violating the agency’s travel regulations,
because she did not secure his approval prior to commencing her travels. He revoked the prior
authorization that she received from other agency personnel and denied her reimbursement request

for approximately $400 of legitimate travel expenses. Exh. 15, at 1-2.

The June 2015 counseling letter was an adverse personnel action. It deprived Plaintiff of a
way to relieve the migraine headaches that she occasionally suffered when working with VTC
equipment for prolonged periods. It also denied her reimbursement for legitimately incurred
business travel expenses. Most notably, it reinforced management’s decision not to transfer her
out of an abusive working environment. See Palmer v Shultz, 815 F.2d 84, 97-98 (D.C. Cir. 1987).
It also discriminated against Plaintiff for having a medical condition requiring a reasonable
accommodation. At the time, she was the only Headquarters judge assigned to handle an all-

detained, all-VTC court docket. The other three Headquarters judges were detailed to the

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Arlington court or another court location to conduct hearings in person. Plaintiffs detail court
location, the York Immigration Court, had VTC equipment that frequently malfunctioned. As a
result of the June 2015 counseling letter, Plaintiff had to continue conducting court hearings by

videoconference.
e August 2015 final performance rating

The January 2015 counseling email, March 2015 reprimand, and June 2015 counseling
letter were incorporated by reference into a final performance rating that ACIJ Santoro issued on
August 4, 2015. Exh. 18, at 24-45. Covering the rating period 2013 to 2015, the performance
rating credited Plaintiff with an overall satisfactory performance but noted that she needed
improvement in the area of professionalism. The rating was suspect because it did not correlate

with the interim performance rating that Plaintiff received only a year earlier. Exh. 18, at 23.

In August 2014, Plaintiff received a mid-term performance rating that evaluated her work
performance as “being at least satisfactory” in all critical elements, including professionalism.
Exh. 18, at 23. Four months after that, ACIJ Santoro asked Plaintiff to participate as an instructor
in a December 2014 DOJ-sponsored training exercise for 200 pro bono attorneys. The training
exercise went very well, and Plaintiff received multiple compliments from the conference
organizers as well as ACIJ Santoro. Exh. 18, at 47-52. Plaintiff had hoped that the
overwhelmingly positive feedback would help her secure a court transfer once a vacancy was

announced in the Arlington court.

ACIJ Santoro and ACIJ Keller, however, had other plans. The August 2015 performance
rating laid the groundwork for denying her request for a court transfer as well as the Board Member

application. After he issued the August 2015 final performance rating, ACIJ Santoro used it to
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justify denying Plaintiff special work opportunities. In October 2015, her denied her permission
to participate in a DOJ-sponsored training conference on immigration law. In November 2015, he
removed her name from the list of Pro Bono Liaison Judges. In November 2015, her Board

Member application was denied.

In subsequent years, the August 2015 performance rating was used to lay the groundwork
for Plaintiff's removal from the federal service. The September 2019 OPR Final Report of
Investigation cited it as evidence of a lack of professionalism. EOIR’s Notice of Proposed
Removal issucd in February 2020 also relicd on the August 2015 performance rating. Because it
ultimately contributed to her removal, the August 2015 performance rating was an adverse

personnel action. See Crenshaw v. Georgetown Univ., 23 F. Supp. 2d 11, 17 (D.D.C. 1998), aff'd

 

without opinion, 194 F.3d 173 (D.C. Cir. 1999) (“[T]he touchstone in determining whether an
employment decision implicates the terms, conditions, or privileges of employment is whether the
plaintiff has suffered a materially adverse action that undermines [his] ability to perform [his] job
satisfactorily or threatens [his] prospects of future employment.”). See also Youssef v. Holder, 19
F, Supp. 3d 167 (D.D.C. 2014) (a performance evaluation that results in the denial of tangible

benefits is an adverse personnel action).
e November 17, 2015 denial of Board Member application

The denial of Plaintiff's Board Member application was a materially adverse action that
deprived her of a promotion opportunity. In subsequent years, she applied for temporary Board
Members positions but was also denied those opportunities. Documents from Plaintiff's EEOC
action confirm that the former EOIR Director was motivated to deny her temporary Board Member

applications because of her race, sex, and other protected characteristics. Exh. 14, at 189-195.

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e July 28, 2016 counseling letter

The counseling letter was issued after Plaintiff sent an email to a white female judge who
had been double-booking court hearings on Plaintiff's calendar, causing numerous scheduling
conflicts. The conflict arose when Plaintiff sent the other judge an email to let her know that
Plaintiff would be returning to that judge a case that the judge had purposely double-booked on
Plaintiff's hearing calendar. Exh. 19, at 17-20. Plaintiff had raised this concern to the court
administrator and ACIJ Nadkarni. Not surprisingly, ACIJ Nadkarni sided with the other judge and
issued a counscling Icttcr to Plaintiff, criticizing Plaintiff for engaging the other judge in an
“unprofessional exchange.” The letter even threatened to terminate Plaintiff's employment. Exh.

19, at 25-28.

The counseling letter was discriminatory. In email exchanges leading up to issuance of the
counseling letter, the other judge claimed that ACIJ Nadkarni had “ordered” her to schedule
hundreds of court hearings on Plaintiffs calendar, a claim that ACIJ Nadkarni did not deny. Yet,
the counseling letter claimed the double-booking was inadvertent. The other judge copied senior
management on the email exchange, but ACIJ Nadkarni faulted Plaintiff for escalating the conflict.
Exh. 19, at 34, 36-53. As if that was not enough, the counseling letter incorporated wholesale the
March 2015 reprimand and all of its attachments, even though the two incidents occurred 16

months apart and were unrelated. Exh. 19, at 56-58.

Two-and-a-half years later, Plaintiff learned that ACIJ Nadkarni had issued to the other
judge a similarly worded counseling letter on the same date and over the same incident. The
release of the other judge’s letter on the eve of EOIR moving for summary judgment in Plaintiffs

EEOC action was meant to refute Plaintiff's claim that ACIJ Nadkarni favored white female judges

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over non-white female. But the other judge has suffered no adverse personnel action as a result of

her counseling letter. She remains on the bench, while Plaintiff is out of a job.

In 2017 or 2018, the counseling letter was forwarded to OPR for use in the investigation.
It was cited in the September 2019 OPR Final Report of Investigation as evidence of Plaintiffs
alleged mistreatment of the other (white female) judge. It also was cited in the February 2020
Notice of Proposed Removal and the September 2020 Removal Decision as evidence that Plaintiff
was no longer suited for the job that she had been performing satisfactorily for 12 years. No
mention of the other (white female) judge’s counseling letter was made in the OPR Final Report,
the EOIR Director’s proposal to terminate Plaintiff's employment, or the Attorney General’s
Removal Decision. That judge’s letter was buried as quickly as it had surfaced. Thus, while the
other judge’s counseling letter was not an adverse personnel action, Plaintiff's counseling letter
certainly was. See Crenshaw, 23 F. Supp. 2d at 17 (“[T]he touchstone in determining whether an
employment decision implicates the terms, conditions, or privileges of employment is whether the
plaintiff has suffered a materially adverse action that undermines [his] ability to perform [his] job

satisfactorily or threatens [his] prospects of future employment.”).
® October 2016 mid-term performance rating and August 2017 final performance rating

In October 2016, ACIJ Nadkarni issued a mid-term performance rating that — while
crediting Plaintiff with an overall satisfactory performance rating — downgraded her rating for the
professionalism element. Exh. 4, at 1795-1801. The rating cited Plaintiff's July 28, 2016
counseling letter. The October 2016 mid-term performance rating was an adverse personnel action
that was carried forward into Plaintiffs August 2017 final performance rating. Both performance
ratings were subsequently provided to OPR, which cited them as evidence of Plaintiff's alleged

lack of professionalism. The ratings were also referenced in the EOIR Director’s February 2020

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proposal to remove Plaintiff from federal service. Because they were used to effectuate Plaintiff s
removal from federal service, the performance ratings were adverse personnel actions. See

Youssef, 19 F. Supp. 3d at 167.

e January 2017 release of privacy protected information from Plaintiff's personnel file.

The year 2017 began with EOIR leaking privacy protected information from Plaintiffs
personnel file to the American Immigration Lawyers Association (AILA). EOIR claimed that the
information release was inadvertent but, when asked to retrieve or claw back the information, it

flatly refused.

Two months later, two immigration bar attorneys used the released information to file an
ethics complaint against Plaintiff. The first ethics complaint, filed on March 1, 2017, stated that
Plaintiff had been “counseled previously.” The second complaint, filed on March 28, 2017,
alleged that Plaintiff engaged in witness intimidation. OPR would later sustain some of the

allegations in the first complaint, but reject the witness intimidation claim as factually unsupported.

After OPR issued its Final Report of Investigation in September 2019, EOIR proposed
Plaintiff's removal based on the report. Because the January 2017 information leak set up the
March 2017 ethics complaints, and the ethics complaints led to the OPR investigation, and the
OPR investigation led to Plaintiffs removal, the information leak was an adverse personnel action
that caused a significant change in Plaintiffs employment status. Therefore, the information leak

constituted an adverse personnel action.

e August 2017 referral to OPR for an investigation

On August 29, 2017, Plaintiff received notice that OPR had initiated an inquiry into her
handling of the two ethics complaints. Exh. 4, at 83-85. The referral to OPR was made by attorney

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Marlene Wahowiak. Ms. Wahowiak had worked in OPR for 12 years before transferring to EOIR.
The year she arrived at EOIR, she applied for an immigration judge position in the Arlington
Immigration Court. The OPR Letter of Inquiry directed that Plaintiff file a response in two weeks’
time. However, because of Plaintiff's work related travel and other reasons, Plaintiff did not file
her 97-page written response until November 2017. Seven months later, Plaintiff sat for a seven-

hour OPR interview on June 28, 2018.

One-and-a-half years after the OPR inquiry began, Plaintiff learned that Ms. Wahowiak
was the FOIR official who had referred Plaintiff for the OPR investigation. The email
communication that Ms. Wahowiak sent to OPR begged OPR to initiate and expedite an
investigation of Plaintiff. The email asserted questionable factual assumptions and conclusions
that were never substantiated by OPR. Nevertheless, the email persuaded OPR to accept the

referral and initiate an investigation. As a direct result of the investigation, Plaintiff lost her job.

While Defendants might argue that the outcome of OPR’s investigation rested on evidence
that OPR independently obtained, the investigation would not have been initiated but for the
factually inaccurate and misleading statements in Ms. Wahowiak’s email. Ms. Wahowiak’s
apparent conflict of interest further tainted the investigation because she had previously worked
for OPR. She used her influence with OPR Chief Counsel to initiate the investigation, knowing
that it would further her own self-interest in obtaining an immigration judge appointment. Under
these circumstances, the OPR referral was an adverse personnel action that directly resulted in

Plaintiff's discharge after 29 years of exemplary public service.

® September 2019 OPR Report of Investigation

 

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Defendants do not contest that OPR’s Final Report of Investigation issued on September
27, 2019 was an adverse personnel action. Indeed, the Final Report was cited in the subsequent
EOIR Notice of Proposed Removal and the Removal Decision as the basis of Defendants’ decision
to terminate Plaintiff's 29-year DOJ legal career. In addition, the Final Report was the reason
Plaintiff was placed on administrative leave beginning on October 8, 2019. She remained on

administrative leave until her removal on September 17, 2020.

e February 2020 Notice of Proposed Removal

Defendants do not contest that EOIR’s Notice of Proposed Removal was an adverse

personnel action.

© September 2020 Removal Decision

Defendants do not contest that Plaintiff's removal from the Justice Department and the

federal service was an adverse personnel action.

Cc. Plaintiff Has Pleaded a Prima Facie Claim of Hostile Work
Environment.

Hostile and threatening treatment can only constitute an actionable adverse action if the
treatment is so severe and pervasive as to create a hostile work environment. Meritor Savings

Bank, FB v. Vinson, 477 U.S. 57, 64-65 (1986). In Brody, the D.C. Circuit Court of Appeals held

 

that a plaintiff who alleges personnel actions without tangible economic effect can only maintain
a hostile work environment claim, where the work atmosphere is so polluted with discrimination
as to destroy the emotional and psychological stability of minority group workers. 199 F.3d at
454. Consistent with Brody, this Court may consider all the alleged discrete acts of discriminatory

treatment as contributing to a hostile work environment.

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D. Plaintiff Has Pleaded a Prima Facie Claim of Retaliation for Engaging
in Prior EEO Activity.

To establish a prima face case of retaliation, Plaintiff must demonstrate: (1) that she
engaged in a statutorily protected activity; (2) that the employer took an adverse personnel action;
and (3) that a causal connection existed between the two. Brody, 199 F.3d at 452. A reasonable
inference that retaliation has occurred can be drawn from facts indicating that Defendants had
knowledge of Plaintiff's protected activity and the adverse personnel action took place shortly
after that activity. Carney v. The American University, 151 F.3d 1090 (D.C. Cir. 1998); Mitchell

y. Baldridge, 759 F.2d 80, 86 (D.C. Cir. 1985).

Plaintiff raised the retaliation claim during her initial contact with the EEO Counselor on
October 9, 2015. She alleged that the adverse actions that EOIR management took against her in
2015 were in retaliation for her pursuing an EEO complaint in 2014. EOIR recognized her
retaliation claim in its statement summarizing the charge. Plaintiff then pleaded the retaliation
claim in her formal complaint filed with the EEOC in December 2015. The formal complaint
sufficiently apprised Defendants of each discrete act of reprisal. As Plaintiffs discrimination and
retaliation claims are reasonably related, the Court has jurisdiction to consider the retaliation claim.
See Brown v. Hartshorne Public School District, 864 F.2d 680, 682 (10 Cir. 1988) (acts
committed in retaliation for filing EEO complaint are reasonably related to first complaint and

obviate need for second EEO complaint).!

 

1Tn this action, Plaintiff also asserts a claim of whistleblower retaliation that she earlier
raised to the MSPB as an affirmative defense against her removal. Though whistleblower
retaliation is beyond the scope of Defendants’ Motion to Dismiss, Plaintiff contends that she
experienced severe reprisal in the form of a removal or other adverse personnel action, because
she disclosed to a governmental body information regarding a violation of law, rule, or regulation
which she reasonably believed to be true and reasonably believed constituted an improper

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II. THIS COURT HAS JURISDICTION OVER PLAINTIFF’S
DISCRIMINATION CAUSE OF ACTION.

Defendants contend that Plaintiff's claims of discrete acts of discriminatory treatment
should be dismissed for failure to exhaust her administrative remedies. Because Plaintiff timely
raised her claims in the proper administrative forum before filing suit in this Court, the Court has
subject matter jurisdiction to consider the claims. Accordingly, the Court should deny Defendants’

Motion to Dismiss under Rule 12(b)(1).
A. The Administrative Exhaustion Requirement

A federal employee who alleges employment discrimination must first initiate contact with
an EEO counselor in her agency within 45 days of the date of the matter alleged to be
discriminatory, before she files a formal complaint with the EEOC. See 29 C.F.R. 1614.105(a)(1).
Once the EEOC has resolved a formal complaint of discrimination, either party may appeal the
EEOC’s decision to a federal district court within 90 days of receiving the EEOC decision and
order. One exception to this rule is that an age discrimination claim filed under the Anti-Age
Discrimination in Employment Act of 1967 (ADEA) may be filed directly with the district court
30 days after a plaintiff notifies the EEOC of the age discrimination claim. Therefore, an ADEA
claim need not be exhausted through an initial contact with the employer’s EEO counselor, and it

need not be resolved by the EEOC before the plaintiff files suit in federal district court.

The exhaustion requirement “serves the purpose of giving the agency the information it
needs to investigate and resolve the dispute between the employee and the employer. Good faith

effort by the employee to cooperate is all that exhaustion requires.” Khader v. Aspin, 1 F.3d 968,

 

governmental action. See Villines v. United Brothers of Carpenters, 999 F. Supp. 97 (D.D.C.
1998) (stating general elements of a whistleblower retaliation claim).

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971 (10™ Cir. 1993) (internal quotation marks omitted). Generally, the administrative exhaustion
requirement is satisfied if each discrete incident of discriminatory treatment is included in the

formal complaint filed with the EEOC.

In the EEOC action below, Plaintiff alleged discriminatory conduct that occurred before
and after the filing of her EEOC formal complaint of discrimination on December 10, 2015. The
alleged discriminatory conduct included discrete acts of disparate treatment, adverse actions that
contributed to a hostile work environment, and retaliation for engaging in protected EEOC activity.
Those disercte acts occurring before December 2015 were include in the formal complaint.
Discrete acts that arose after December 2015 were pleaded in Plaintiff's two motions to amend the

formal complaint, filed on August 25, 2016 and May 7, 2018, respectively. Exh. 4, at 2-6, 29-52.

Defendants contend that for three of the claims, Plaintiff did not initiate contact with the
EEO counselor in her employing agency (EOIR) within 45 days. For one of the claims, Defendants
contend that Plaintiff had earlier initiated contact with the EEOC counselor within 45 days but
then withdrew her informal complaint, thereby waiving her right to challenge that discrete act
claim in this district court action. Defendants’ arguments, however, do not consist with the
evidence that Plaintiff has already produced in this district court action and will produce if this

case proceeds to discovery.

B. Plaintiff Initiated Contact With the EEO Counselor Within 45 Days
of Each Discrete Act of Discrimination Before Filing Her Formal
Complaint.

On October 19, 2015, Plaintiff contacted EOIR’s EEO Counselor and Program Director,
Andrew Press, to initiate an internal EEO complaint after she learned that the Agency had denied

her request for a transfer to the Arlington Immigration Court, pursuant to the terms of the

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Collective Bargaining Agreement (CBA) between EOIR and the Immigration Judges’ union (the

National Association of Immigration Judges or NAIJ).”

In early October 2015, Plaintiff learned that her request for a non-hardship transfer to the
Arlington court had been denied because of the March 2015 reprimand. She initiated contact with
the EEO Counselor and Program Director within 45 days. Plaintiff then timely filed a formal
complaint of discrimination with the EEOC on December 10, 2015, within the 60-day regulatory
filing period. The formal complaint asserted a series of discrete acts of discriminatory treatment
that fell into three categories: discrete acts of discriminatory treatment, a hostile work

environment, and reprisal for engaging in prior EEO activity.

1. The Two Discrete Incidents of Discriminatory Conduct in 2015
Were Timely Exhausted With EOIR.

Defendants contend that two of the discrete adverse actions alleged in the December 2015
formal complaint must be dismissed because they were not timely raised with EOIR within 45

days. Those two adverse actions are:

e the January 5, 2015 counseling email, and

 

* Article 13 of the CBA provided a process by which incumbent immigration judges who
had completed their two-year probationary period may apply for a court transfer to their desired
court locations. The CBA further provided that EOIR was to maintain a roster of judges known
as the Reassignment Register. The Register kept track of individual judges’ eligibility for a
transfer, by recording the dates on which they registered for a transfer, their assigned and desired
court locations, and their seniority. Priority was given according to the judges’ registration dates
and length of service. The Register also tracked, on an anonymized basis, those judges who desired
a hardship-based transfer. The CBA provided that once a vacancy arose in a particular court, and
there was a judge on the Reassignment Register who was eligible for a transfer to that court
location, the Agency may elect that judge to fill the vacancy instead of hiring an external judge
candidate.

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e the June 25, 2015 counseling letter.

As part of her initial contact with the EEO Counselor and Program Director, Plaintiff
prepared a written statement that precisely identified the responsible management officials (RMO)
and each act of discriminatory conduct complained of, in sufficient detail to enable EOIR to resolve
the charge before it was filed with the EEOC. The written statement, moreover, explained that the
aggregate discriminatory effect of all those discrete acts of discriminatory treatment culminated in
ACTIJ Santoro’s August 2015 final performance rating, which Plaintiff also alleged was an adverse
personnel action. Because timely contact was made with the EEO Counsclor within 45 days of
issuance of the August 2015 performance rating, the agency was timely notified of Plaintiff's

objections to the January 2015 and June 2015 counseling letter.

2. Plaintiff Did Not Waive Her Right to Challenge the March 2015
Reprimand.

Defendants correctly contend that on March 20, 2015, Plaintiff timely initiated contact with
the EEO Counselor and Program Director to complain about the March 16, 2015 reprimand that
ACI] Santoro had just issued, and that she subsequently abandoned that claim in April 2015, while
she was on FMLA medical leave. The abandonment of that discrete act claim, however, did not
work a forfeiture of her right to challenge EOIR’s subsequent uses of the reprimand to justify new
adverse personnel actions. Over the next four years, the reprimand would repeatedly be used to
justify additional adverse personnel actions. The effect of the reprimand’s reincarnation in each
new adverse personnel action was to extend the time period for challenge it. Indeed, each time the
reprimand resurfaced, Plaintiff challenged it as a continuing act of discrimination that was timely

exhausted within 45 days.

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Altogether, the March 2015 reprimand was used at least eight more times between August

2015 and September 2020, to justify new adverse employment actions.

e The reprimand was used to justify removing Plaintiff's name from the Reassignment
Register in July 2015.

e The reprimand was incorporated into the August 2015 final performance rating.

e The reprimand was used to justify denying Plaintiff a court transfer in October 2015.

e The reprimand was placed in Plaintiff’s official personnel file and presumably was
used to deny her Board Member application in November 2015.

e The reprimand was incorporated into Plaintiff's July 26, 2016 counseling letter.

e The reprimand was provided to OPR and referenced in the September 27, 2019 OPR
Report of Investigation.

e The reprimand was used to propose Plaintiff's removal in February 2020.

e The reprimand was referenced in the Attorney General’s Removal Decision in
September 2020.

By March 2015, Plaintiff was at the top of the Reassignment Register, which meant she
had seniority and priority over other judges. To divest Plaintiff of her right to a court transfer,

ACIJ’s Santoro and Keller orchestrated the following scheme.

The EOIR managers used the reprimand to justify removing Plaintiff's name from the
Reassignment Register in July 2015. Then, they inserted a false narrative into the August 2015
performance rating that — while crediting her with overall satisfactory work performance —
obliterated her professional reputation, character, and conduct. The narrative allowed them to

refute a charge of discrimination stemming from the denial of her transfer request.

After Plaintiff filed a formal complaint with the EEOC in December 2015, EOIR reversed

course and announced that it would transfer all Headquarters judges to the Arlington court. This

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unusual move was at odds with the intent of two judges who did not request a transfer to the
Arlington court. One judge requested a transfer to Charlotte, North Carolina, while the other

requested Newark, New Jersey or New York, New York.

After 2015, EOIR continued using the March 2015 reprimand to support other adverse
personnel actions. On July 28, 2016, ACIJ Nadkarni issued a counseling letter that incorporated
wholesale the March 2015 reprimand, even though the reprimand was from an earlier rating period
and had nothing to do with the incident behind the counseling. Through a timely First Motion to
Amend filed with the EEOC on August 25, 2016, Plaintiff asserted that the July 28, 2016

counseling letter was an adverse personnel action. Exh. 4, at 2-5.

After referring Plaintiff to OPR for an investigation in August 2017, EOIR continued to
use the reprimand to harass her. ACIJ Nadkarni provided a copy to OPR investigative counsel.
The Final Report of Investigation that OPR issued two years later, on September 27, 2019,
referenced the reprimand as a prior disciplinary record that supported its finding of professional
misconduct. Even though the reprimand’s effective period had lapsed, EOIR continued to use it

to support its proposed termination of Plaintiff's employment in February 2020.

As each new use of the reprimand constituted a new discrete act of continuing
discriminatory or retaliatory treatment, Plaintiff timely challenged it through her formal complaint
filed on December 20, 2015, her First Motion to Amend filed on August 25, 2016, and her Motion

for Reconsideration filed on April 29, 2021. Given Plaintiff's timely objection to each new use of

 

? The EEOC lacked jurisdiction to consider Plaintiff's affirmative defense based on
whistleblower retaliation.

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the reprimand, Defendants cannot credibly argue that she long ago gave up the right to challenge

its ongoing, discriminatory uses.

3. Plaintiff Did Not Waive Her Right to Challenge the June 2015
Counseling Letter.

The June 25, 2015 counseling letter was issued after ACIJ Santoro incorrectly concluded
that Plaintiff had violated the travel regulations by making two additional trips to the York
Immigration Court without his pre-approval. Through a July 25, 2015 response, Plaintiff disputed
the counseling letter and its false premise. The response closed by asking ACIJ Santoro to rescind
the counseling letter, because it contained mistakes of fact and law, and because it unfairly

penalized Plaintiff for engaging in legitimate government business.

C. After Filing Her Formal Complaint, Plaintiff Timely Raised
Additional Related Claims of Discrimination That Arose After
December 2015.

On August 25, 2016, before the first EEOC pre-trial conference, Plaintiff filed her First
Motion to Amend with the EEOC. Exh. 4, at 1-5. The Motion asserted one additional discrete act
of discriminatory treatment that occurred after the filing of the December 2015 formal complaint.
The additional discrete act was the issuance of a July 28, 2016 counseling letter by ACIJ Deepali
Nadkarni. As the Motion was filed within 45 days of the issuance of the counseling letter, the
EEOC administrative judge granted the motion to amend. Plaintiff subsequently filed a Second
Motion to Amend with the EEOC on May 7, 2018. Exh. 4, at 30-51. The second motion
incorporated all of the discrete incidents of discriminatory conduct that occurred between 2015

and May 2018.

Altogether, the three pleadings that were filed with the EEOC in December 2015, August

2016, and May 2018 asserted a total of 42 allegations of discriminatory treatment, retaliation for

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engaging in protected EEO activity, and a hostile work environment. The EEOC administrative
judge accepted 39 of the allegations and rejected the other four. Exh. 4, at 53-61. The EEOC
administrative judge concluded that she did not have subject matter jurisdiction over the four
claims that asserted violations of the FOLA and Privacy Act. Exh. 53-54. Those four rejected

claims will be discussed later. See Section III, below.

At the close of discovery in March 2019, Defendant EOIR moved for summary judgment.
On February 26, 2020, the EEOC administrative judge granted the agency’s summary judgment

motion and dismissed the formal complaint without a hearing.
1. Plaintiff timely appealed the administrative judge’s decision.
The appeal to the Commission was timely filed on May 1, 2020.
2. Plaintiff timely appealed the September 17, 2020 removal decision.

While her EEOC appeal was still pending, Defendants issued a decision on September 17,

2020 that terminated Plaintiff's 29-year employment with the Justice Department. Exh. 1.

Plaintiff elected the administrative remedy of an MSPB appeal. On October 19, 2020, she
filed a timely Notice of Appeal with the MSPB. The appeal asserted two affirmative defenses,
one based on discrimination and the other, on whistleblower retaliation. Since then, the MSPB
has twice dismissed her appeal for lack of jurisdiction without prejudice. The MSPB determined
that until its Board has a full quorum of judges, it has no jurisdictional authority to adjudicate

Plaintiff's appeal at this time. Exhs. 5, 8, 9, 10.

Bu Plaintiff timely sought reconsideration of the EEOC’s
March 24, 2021 decision.

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After Plaintiff filed her MSPB appeal, the EEOC dismissed her appeal from the February

26, 2020 decision of the administrative judge to grant summary judgment to Defendants.

Through a timely filed Motion for Reconsideration, Plaintiff apprised the EEOC of her
wrongful discharge as a continuing discrete act of discrimination. She also notified the EEOC of
her timely appeal to the MSPB, and that the MSPB had dismissed her appeal for lack of
jurisdiction, without prejudice to reinstatement. The Motion for Reconsideration requested that
the EEOC vacate its decision and remand for further discovery on the additional claims of
discrimination, which Plaintiff asserted were reasonably related to or grew out of the original

charge or formal complaint. Plaintiff further notified the EEOC of her ADEA claim. Exh. 6.
The EEOC denied Plaintiffs Motion for Reconsideration on August 19, 2021. Exh. 10.
C. Plaintiff Timely Filed This District Court Action.

On June 22, 2021, after the MSPB dismissed her administrative appeal for lack of
jurisdiction a second time, Plaintiff commenced this district court action. She did so in a timely
fashion, by filing the district court complaint within 90 days after the EEOC dismissal of her

administrative appeal on March 24, 2021. Exh. 10.

The civil complaint included the 39 allegations of unlawful discrimination in Plaintiff's
formal EEOC complaint. It also asserted additional claims of discriminatory conduct that occurred
after the EEOC dismissed the formal complaint on February 26, 2020. The additional claims
included Defendants’ proposal to terminate Plaintiff's employment one day following the
dismissal of her EEOC appeal, and the Attorney General’s decision to terminate her employment.
Because the additional claims are reasonably related to or grew out of the allegations contained in

the original EEO charge. Accordingly, this Court has jurisdiction to consider them. See Brown v.

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Hartshorne Public School District, 864 F.2d 680 (10% Cir. 1988) (“A plaintiff may seek relief for
discriminatory acts not listed in the original EEO charge if such acts are reasonably related to or
grow out of the allegations contained in the original EEO charge, ‘including new acts occurring
during the pendency of the charge before the EEOC.’ ”) (citations omitted). See also Gottlieb v.
Tulane University of Louisiana, 809 F.2d 278, 284 (5 Cir. 1987) (where intentional
discrimination claim was properly before the court, it had ancillary jurisdiction over related

retaliation claim).

After the EELOC denied her Motion for Reconsideration, Plaintiff filed an Amended
Complaint within 90 days. The Amended Complaint asserted a new claim of age discrimination
under the ADEA that became ripe 30 days after Plaintiff notified the EEOC of her intent to pursue
that claim. The Amended Complaint also raised claims of discriminatory treatment resulting from
Defendants’ violations of the FOIA and Privacy Act. Those claims were previously presented to
the EEOC, but the administrative judge did not consider them upon concluding that she lacked
authority to grant the relief Plaintiff requested. Because Plaintiff has timely raised the ADEA and

FOIA and Privacy Act claims, the Court has jurisdiction to consider those claims as well.

Ill. THIS COURT HAS JURISDICTION OVER PLAINTIFF’S CLAIMS
UNDER THE FOIA AND PRIVACY ACT.

In this district court action, Plaintiff asserts five discrete claims of violations of the FOIA
and Privacy Act that are inextricably intertwined with her complaint of discrimination. Those five

claims are:

e EOIR’s refusal to expedite the processing of Plaintiff's September 2015 and January
2018 FOIA requests and to release all responsive documents.

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© OPR’s refusal to expedite the processing of Plaintiff's August 2019 FOIA request and
to release all responsive records.

e EOIR’s unauthorized release of privacy-protected information from Plaintiffs
personnel file in January 2017 and refusal to claw back that information.

e Defendants’ failure to maintain a system of records that accurately maintained
Plaintiff's personnel records.

e Defendants’ refusal to amend or expunge certain personnel records that contain
factual errors.

Defendants’ Motion to Dismiss for lack of jurisdiction contend that this Court lacks
jurisdiction over the Privacy Act claims because they were nol timely exhausted al the
administrative agency level. For the reasons discussed below, the Motion to Dismiss under Rule

12(b)(1) should be denied.
A. Plaintiff Has Timely Exhausted Her FOIA Release Claims

Section 552a(d) of Title 5 of the United States Code provides a right to access records.’
Section 552a(g)(3) provides a right of action and civil remedies for non-disclosure of information.°

Plaintiff has timely exhausted her administrative remedies and has asserted a cause of action for

 

“Fach agency that maintains a system of records shall (1) upon request by any individual
to gain access to his record or to any information pertaining to him which is contained in the
system, permit him . . . to review the record and have a copy made of all or any portion thereof in
a form comprehensible to him. . . .” 5 U.S.C. § 552a(d).

5 “In any suit brought under the provisions of subsection (g)(1)(B) of this subsection, the
court may enjoin the agency from withholding the records and order the production to the
complainant of any agency records improperly withheld from him. In such a case the court shall
determine the matter de novo and may examine the contents of any agency records in camera to
determine whether the records or any portion thereof may be withheld under any of the exemptions
set forth in subsection (k) of this section, and the burden is on the agency to sustain its action.” 5
U.S.C. § 552a(g)(3).

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release of documents under Section 552a(d)(1). Therefore, she respectfully requests that the Court

enter an order directing Defendants to produce to Plaintiff improperly withheld records.
1. September 2015 FOIA Request

On September 30, 2015, Plaintiff filed a first-party FOJA request that sought release of
information from her official personnel file and other record systems that contained information

about her employment with EOIR.

Between September 2015 and August 2017, Plaintiff received a total of 100 pages of
documents on a rolling basis. As that batch of documents did not contain information that she
knew existed, Plaintiff filed a FOIA appeal with the Office of Information Policy (OJP) in
November 2017. Upon information and belief, OIP dismissed the appeal for untimeliness.
Sometime after November 2017, however, Plaintiff found a folder labeled “BAIN FOJA 2015” in
an EOIR shared drive, while she was taking an on-line ethics training course. Because the folder
had her name, she clicked open the folder and discovered approximately 1,000 pages of documents
that were responsive to her September 2015 FOIA request. Those documents had not been released
to Plaintiff. Many of the 1,000 pages pertained to her and her personnel records, while other pages
pertained to similarly situated immigration judges who sought transfers to other court locations.
Upon discovering the “BAIN FOIA 2015” folder, Plaintiff printed the 1,000 pages using her office
computer. Plaintiff then produced those documents in response to EOIR’s discovery requests,

because they were relevant to her formal complaint of discrimination. Exh. 4, at 153-147.

In the EEOC proceeding, Defendants opposed Plaintiff's use of the “BAIN FOIA 2015”
folder and moved for sanctions. The administrative judge denied the motion for sanctions, finding

that Plaintiff did not obtain those documents in violation of law, and that any privilege that may

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have attached to the documents had been waived. The administrative judge further ruled that
Plaintiff may use the “BAIN FOIA 2015” documents in the EEOC action. On February 26, 2020,
the administrative judge ruled that she had no authority to prohibit the use of the “BAIN FOIA
2015” documents in non-EEOC proceedings. She placed the “BAIN FOIA 2015” documents

under a protective order, to protect them from unauthorized disclosure.

In view of the administrative judge’s ruling, Plaintiff requests that the Court enter an order
requiring Defendants to produce the “BAIN FOIA 2015” documents for the court’s inspection. To
the extent Defendants claim that FOJA Exemptions 5, 6, and 7(C) prohibit their disclosure,
Plaintiff respectfully requests that the Court order Defendants to prepare and file a privilege log
identifying each of the documents it would like to withhold, and the grounds for withholding such
documents. With regard to documents that can be released after deleting “[a]ny reasonably
segregable portion of a record,” Plaintiff respectfully requests that the court order Defendants to
release to Plaintiff those documents in redacted form. See 5 U.S.C. 552a(b). For now, Plaintiff
will continue to treat the “BAIN FOIA 2015” documents as exempt from disclosure under the

FOIA and Privacy Act.
2. January 2018 FOIA Request

After she received ACIJ Nadkarni’s October 2016 mid-term performance rating, Plaintiff
requested that ACIJ Nadkarni release to her all documents and materials that were used to
formulate Plaintiff's performance rating. ACIJ Nadkarni refused. In January 2018, Plaintiff filed
a first-party FOIA and Privacy Act request for those records. In April 2018, EOIR responded to
the second FOIA request by producing 39 pages of documents and withholding an unspecified
number of pages. Because those 39 pages did not reveal or substantiate the factual basis of the

performance rating, Plaintiff timely pursued an appeal to the OIP. The OIP sustained the appeal

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in part and dismissed it in part, and remanded the matter to EOIR without stating its reasoning.
On remand, EOIR sent Plaintiff a CD that contained redacted copies of some of the judicial
opinions that she had written during the rating period 2015 to 2017. Those judicial decisions did

not contain the information Plaintiff requested. Exh. 2.

Plaintiff raised her FOIA non-release claims to the EEOC through her second motion to
amend the formal complaint, filed on May 18, 2018. She asserted that EOIR’s willful failure to
release documents in response to her 2015 and 2018 FOIA and Privacy Act requests were
materially adverse personnel actions that deprived her of her statutory right to prosecute her formal
complaint. She further asserted that EOIR’s release of privacy-protected information from her
personnel file in January 2017 was a personal invasion of privacy that was retaliation for her
pursuit of an EEOC action. The administrative judge accepted all but four of the 42 allegations of
discrimination. The four allegations that she rejected pertained to Plaintiff's FOIA and Privacy

Act claims.

Defendants’ withholding of the requested personnel and evaluative records was a violation
of Section 552a(d). Plaintiff, therefore, respectfully requests that the Court enter an order directing
Defendants to produce those records to Plaintiff. To the extent Defendants claim that FOIA
Exemptions 5, 6, and 7(C) prohibit their disclosure, Plaintiff respectfully requests that the Court
order Defendants to prepare and file a privilege log identifying each of the documents it would
like to withhold, and the grounds for withholding such documents. With regard to documents that
can be released after deleting “[aJny reasonably segregable portion of a record,” Plaintiff
respectfully requests that the court order Defendants to release to Plaintiff those documents in

redacted form. See 5 U.S.C. 552a(b).

3. August 2019 FOIA Request

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On September 27, 2019, OPR issued its Final Report of Investigation. The Report cited
record materials and evidence that OPR did not and would not release to Plaintiff. Earlier, Plaintiff
filed a FOIA and Privacy Request on August 4, 2019, requesting release of the full record of

investigation.

After EOIR inquired about the status of her FOIA and Privacy Act request, OPR released
45 pages of documents and withholding 530 pages. Plaintiff appealed to OIP on June 10, 2020.
Because Defendants had released four of the thirteen OPR interview transcripts to Plaintiff without
claiming exemption or privilege, Plaintiff had a reasonable expectation that OPR would relcasc
the remaining nine interview transcripts or audio recordings. Those nine transcripts contained
eyewitness testimonies on which OPR relied in preparing its Report of Investigation. Therefore,
the nine interview transcripts or audio recordings were relevant to Plaintiff's defense against the
agency’s proposal to terminate her employment. The nine interview transcripts were not
privileged because they contain pure statements of fact, and they are relevant to Plaintiff's appeal
of the removal decision which Plaintiff asserts was motivated by unlawful discrimination.
Accordingly, Plaintiff has demonstrated a substantial need for those records. See, e.g., Robbins

Tire Rubber Co. v. NLRB, 563 F.2d 724, 735-37 (5" Cir. 1997), rev'd on other grounds, 437 U.S.

 

214 (1978) (a government attorney may not protect a verbatim witness statement from disclosure
(either under the FOIA or in civil discovery) merely by including it text in a memorandum prepared

for use in litigation).

OPR’s refusal to expedite the processing of Plaintiff's 2019 FOJA request and to release
responsive documents was prejudicial. The withholding of the records substantially diminished
Plaintiff's ability to oppose the removal proposal and decision. Since Plaintiff timely filed this

district court action, the Court has jurisdiction over the 2019 FOIA release claim. Accordingly,

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Plaintiff respectfully requests that the Court direct Defendants to release the remaining record
materials that comprise the OPR Record of Investigation. To the extent Defendants claim that the
undisclosed portions of the record are privileged, Plaintiff respectfully requests that the Court order
Defendants to file a privilege log identifying each of the documents it would like to withhold, and
the grounds for withholding such documents. With regard to documents that can be released after
deleting “[a]ny reasonably segregable portion of a record,” Plaintiff respectfully requests that the
court order Defendants to produce immediately those documents in redacted form. See 5 U.S.C.

552a(b).
B. Plaintiff Has Timely Exhausted Her Privacy Act Claims.

Plaintiff invokes two provisions of the Privacy Act through this civil action to protect her
privacy interest and to seek compensation for the deprivation of that interest. The first provision
requires Defendants to take corrective action to prevent unwarranted invasion of an individual’s
privacy-protected personnel records.® See 5 U.S.C. § 552a(g)(4). An intentional or willful
violation of that provision entitles the individual to monetary damages. See id. The second
provision requires Defendants to maintain an accurate and complete set of Plaintiffs personnel
records. See 5 U.S.C. § 552a(g)(1)(C). Upon request, the agency maintaining records must permit
the requestor to request amendment of a record pertaining to her, in accordance with the procedures

prescribed in 5 U.S.C. § 552a(d)(2).

 

6 “Tn any suit brought under the provision of subsection (g)(1)(C) or (D) of this section in
which the court determines that the agency acted in a manner which was intentional or willful, the
United States shall be liable to the individual in an amount equal to the sum of (A) actual damages
sustained by the individual as a result of the refusal or failure, but in no case shall a person entitled
to recovery receive less than the sum of $1,000; and (B) the costs of the action together with
reasonable attorney fees as determined by the court.” 5 U.S.C. § 552a(g)(4).

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1. Unauthorized release of privacy-protected information from
Plaintiff's personnel file.

In January 2017, ACIJ Nadkarni informed Plaintiff that information from her personnel
file had been inadvertently released to the American Immigration Lawyers Association (AILA),
in response to AILA’s lawsuit which sought information about EOIR’s Immigration Judge
Complaint Resolution Program (CRP). EOIR claimed that the leaked information came from its
CRP database and that the leaked information concerned a counseling that she received in 2010.
Plaintiff immediately disputed that she was counseled in 2010 for any reason, and that the claim
of counseling was simply untrue.’ Plaintiff immediately requested that EOJR retract or claw back
the information, by tendering a demand to AILA to return the information that it claimed was
inadvertently released. To Plaintiffs knowledge, EOIR never made that demand and the

information was never retracted.

Two months later, two immigration bar attorneys filed a complaint with ACIJ Nadkarni,
claiming that Plaintiff had committed in judicial misconduct in how she conducted four hearings
in which they were the attorneys of record. The attorneys also claimed that, in the course of
conducting the four hearings, Plaintiff manifested improper demeanor and judicial bias. As
support for their ethics complaint — the first Plaintiff received in her then ninth year of service as
an immigration judge, the attorneys further contend that Plaintiff was “counseled previously.”
Even though it leaked the information and refused to claw back the information, EOIR presented

the ethics complaint OPR and requested an investigation.

 

7 Plaintiff's final performance rating for the period 2009 to 2011 makes no mention of any
counseling. It rated Plaintiff's performance as satisfactory in all critical elements, including the
element of professionalism. See Ex. 16, at 36-42.

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During the OPR investigation, Plaintiff raised the Privacy Act violation to OPR
investigative counsel. OPR investigators, however, dismissed the violation as a non-issue. OPR
counsel stated that since Plaintiff's personnel record was at issue in the OPR investigation, OPR
had to consider it anyway and any inadvertent release of the same records was not prejudicial to
Plaintiff. OPR then issued a Report of Investigation finding that Plaintiff had engaged in
professional misconduct. EOIR used the OPR Final Report to propose that Plaintiff's employment
be terminated. Because Plaintiff filed the instant district court action within two years of the
issuance of the OPR Report of Investigation in September 2019 and her removal in September

2020, her Privacy Act claim is timely.

To the extent Defendants contend that they are not liable for the unlawful disclosure of
information to AILA, this Court should reject that argument as wholly unsupported by law. FOIA
Exemption 6 protects “personnel and medical files and similar files” from improper disclosure. 5
U.S.C. 552(b)(6). For information that is purely and patently contained in personnel files and
medical records, there is no question about the presumptive applicability of Exemption 6. Here,
the information that EOIR knowingly released to an outside requestor, AILA, was a counseling
record from Plaintiffs personnel file. Because it did so without Plaintiff's knowledge or consent,
the release presumptively violated Exemption 6 and constituted a privacy invasion. EOIR’s refusal
to demand retraction undercuts any argument that the disclosure was unintentional. Given the

chance to correct the error, it chose to do nothing.

The unlawful disclosure caused serious harm to Plaintiff's professional reputation. The
harm was reasonably foreseeable, in that AILA was known for using its resources to eliminate
immigration judges it disliked for political and other impertinent reasons, such as a judge’s asylum

grant rate. AILA used the information to file an ethics complaint against Plaintiff. The complaint

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resulted in a referral to OPR. The OPR Report of Investigation resulted in EOIR proposing to
terminate Plaintiff's employment. Defendants adopted EOIR’s proposal and terminated Plaintiff's
employment. OPR’s attempt to downplay the information leak is unpersuasive, because its Final

Report laid the foundation for Plaintiff's discharge from DOJ and the federal service.

2. Refusal to amend or expunge inaccurate portions of Plaintiff's
personnel records.

Section 552a(g)(1)(C) provides that the system of records a federal agency maintains must
be accurate and complete.* The Privacy Act prescribes the civil remedies for violations of Section
552a(g)(1)(C), including the right to request an amendment of the record. Section 552a(d)(2)
entitles the individual to request amendment of a record pertaining to him. The agency has 10
days in which to acknowledge receipt of the amendment request, and to make the requested
amendment, or inform the individual of its refusal to amend the record in accordance with his
request, the reason for the refusal, the procedures established by the agency for the individual to
request a review of that refusal by the head of the agency or an officer designated by the head of

the agency, and the name and business address of that official. 5 U.S.C. 552a(d)(2).

Once Plaintiff has demonstrated that she timely exhausted the Privacy Act claims, the
Court has jurisdiction to consider the inaccuracies and fairness of the statements in those records

and determine whether any inaccurate statement resulted in Plaintiff's discharge. If the Court finds

 

8 “Whenever any agency .. . fails to maintain any record concerning any individual with
such accuracy, relevance, timeliness, and completeness as is necessary to assure fairness in any
determination relating to the qualifications, character, rights, or opportunities of, or benefits to the
individual that may be made on the basis of such record, and consequently a determination is made
which is adverse to the individual . .. the individual may bring a civil action against the agency,
and the district courts of the United States shall have jurisdiction in the matters under the provision
of this subsection.” 5 U.S.C. § 552a(g)(1)(C).

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that Defendants’ violation of the Privacy Act directly caused or contributed to Plaintiff's wrongful
discharge, the Court may order the appropriate remedy under Sections 552a(g)(2)(A) & (B) and
552a(g)(4), which may include costs, fees, damages, and amendment of Plaintiffs personnel

records.

As discussed below, Plaintiff timely exhausted the Privacy Act claims using the agency

processes that were available to her.

e The March 16, 2015 reprimand

On April 20, 2015, within 30 days of receiving the reprimand, Plaintiff sent ACIJ Santoro
a memorandum pointing out the factual and legal errors in the reprimand, and asking that he
rescind it. Exh. 15, at 68-79. He declined to do so. ACIJ, however, did not inform Plaintiff of the
procedures established by the agency for Plaintiff to request a review of that refusal by the head

of the agency or an officer designated by the head of the agency.

e The June 2015 counseling letter

Like the reprimand, the June 2015 counseling letter contained erroneous facts and points
of law that ACIJ Santoro refused to correct, when they were brought to his attention in a July 23,
2015 response memorandum. See Exh. 15, at 5-7, 8-66. Through the response memorandum,
Plaintiff requested that ACIJ Santoro rescind the counseling letter. Exh. 15, at 5. He declined to
do so. He did not inform Plaintiff of the procedures established by the agency for Plaintiff to
request a review of that refusal by the head of the agency or a designated officer. Plaintiff
attempted to grieve the counseling letter by presenting to the Principal Deputy Chief Immigration
Judge and the Chief Immigration Judge. However, EOIR did not take action to resolve the

grievance. Exh. 15, at 3,7.

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e The August 2015 final performance rating

Immediately upon receiving the August 2015 performance rating, Plaintiff requested a
telephonic consultation with ACIJ Santoro. During that phone call and in subsequent email
exchanges, she pointed out several mistakes of fact and asked that ACIJ Santoro correct them. She
also asked that he delete the narrative in the performance rating because it contained so many
factual errors as to be untruthful. ACIJ Santoro made one correction to the date of a counseling
that he claimed he had given Plaintiff in March 2015. But he refused to make other necessary
corrections lo make the record accurate, and he did not advise Plaintiff of the procedures by which

she could have requested a review by the head of the agency.

Subsequently, in January 2017, Plaintiff requested that EOIR not place the 2015
performance rating in her official personnel file because it was still being challenged as a
discriminatory personnel practice through the pending EEOC action. In response, the agency

denied Plaintiffs request. Exh. 19, at 54.

e The July 28, 2016 counseling letter

Upon receiving the July 28, 2016 counseling letter, Plaintiff requested that ACIJ Nadkarni
take note of the factual errors in her counseling letter. Exh. 19, at 54. Plaintiff then promptly
moved to amend her EEOC formal complaint to assert the July 2016 counseling letter as an

additional discriminatory adverse personnel action. Exh. 4, at 1-5.

Two-and-a-half years later, Plaintiff learned for the first time that ACIJ Nadkarni had
issued the white female judge a counseling letter on the same date (July 28, 2016), faulting that
judge for exhibiting unprofessional behavior toward Plaintiff. Because of that very late disclosure,

Plaintiffs only recourse was to dispute the accuracy and completeness of her own counseling letter

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through her Opposition to EOIR’s Motion for Summary Judgment, filed with the EEOC in May

2019. Exh. 19, at 6-58.

EOIR’s deliberate concealment of the other judge’s counseling letter prejudiced Plaintiff
in significant ways. It prevented her from timely seeking amendment or rescission of her own
counseling letter. The counseling letter was used to justify OPR’s findings of judicial misconduct.
It was used in EOIR’s proposal to remove her from the federal service. The Removal Decision
referenced Plaintiffs July 28, 2016 letter, but it did not consider the other judge’s counseling letter
as a mitigating circumstance. Insofar as EOIR deliberately concealed the other judge’s letter from
Plaintiff and the deciding official, Defendants are estopped from asserting a failure to exhaust this

Privacy Act claim.

e October 2016 mid-term performance rating and August 2017 final performance rating

In October 2016, ACIJ Nadkarni issued an interim performance rating that cited the July
28, 2016 counseling letter to support her rating. The performance rating did not mention that the
other judge’s counseling letter. The performance rating also referred to anonymous complaints
that her co-workers had filed with management. When asked to identify those co-workers and to
describe their complaints, ACIJ Nadkarni refused to do so, citing the need to protect their
confidentiality. Because ACIJ Nadkarni withheld information to which Plaintiff was entitled,

Defendants are estopped from arguing a failure to exhaust the October 2016 counseling letter.

The October 2016 interim rating was incorporated into the August 2017 final performance
rating. Both performance ratings were provided to OPR for use in the investigation. OPR
incorporated the October 2016 interim rating and August 2017 final rating into its Report of

Investigation. Both performance ratings were included in EOIR’s February 27, 2020 proposal to

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terminate Plaintiff's employment. Because Plaintiff filed this Privacy Act claim within two years

of her proposed removal, this Court has jurisdiction to consider the claim.
4. Refusal to amend January 2, 2018 BIA decision

On January 2, 2018, the BIA issued a decision in case 050/051, an asylum matter that
Plaintiff began hearing on December 1, 2016 and concluded on February 17, 2017. At the
conclusion of the two-day hearing which lasted approximately seven hours, Plaintiff issued an oral
decision from the bench that denied the asylum and related applications. On appeal, the BIA did
not address the merits of the asylum and related applications, but instead ordered that the case be

remanded to another judge for handling.

Based on representations that the attorney for Ms. Blessinger made on appeal, the BIA
determined that Plaintiff's conduct of the hearing did not meet the standards of conduct for
immigration judges. This decision conflicted with seven other BIA decisions that reached the

opposite conclusion.

As Plaintiff was not privy to the arguments that Ms. Blessinger’s attorney made on appeal,
she attempted to reconstruct the events using court records that were available to her. On February
5, 2018, within 30 days after issuance of the BIA decision, Plaintiff filed a timely motion for
reconsideration with the BIA. The motion requested that the Board reconsider and rescind the
January 2, 2018 opinion because it contained numerous mistakes of law and fact. The Board
declined to consider the motion and returned it to Plaintiff, citing as the reason her lack of standing

to bring the motion.

The BIA’s January 2, 2018 decision was erroneous as a matter of law. The ethics complaint

that was the subject of the BIA decision had already been referred to OPR for an investigation.

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Moreover, the BIA’s regulations did not authorize it to adjudicate ethics complaints filed against
immigration judges or complaints of misconduct filed with OPR. Plaintiff made this argument to

the BIA, but the BIA instead dismissed her motion for lack of standing.

Because the BIA decision was ultra vires, Plaintiff respectfully requests that the Court
vacate the BIA decision. A vacatur would have no effect on the underlying merits of those
immigration relief applications, because the Board’s January 2, 2018 decision did not reach the
merits of relief applications. Instead, it remanded the proceeding to another judge for a de novo

hearing.

Most significantly, the BIA’s January 2, 2018 decision contained factual mistakes that were
confirmed by OPR investigative counsel. OPR acknowledged that Plaintiff did not scream at Ms.
Blessinger during an off-record exchange that she claimed lasted five minutes, and her paralegal
claimed lasted five to ten minutes. Rather, OPR stated that the off-record time was 31 second.
OPR counsel further determined that Plaintiff did not mistreat Ms. Blessinger by denying her
request for a break in the middle of her client’s cross-examination. These fact findings by OPR
significantly undercut the BIA’s ultimate conclusion that Plaintiff acted in an abusive and hostile
manner toward Ms. Blessinger. Moreover, the BIA’s January 2, 2018 decision is inconsistent with
its rulings in seven other cases. In the other seven cases, the BIA affirmed Plaintiff's decision to
deny the recusal motion, finding that it had no concerns about Plaintiff's conduct of the hearings.

Exh. 25.

Given Plaintiffs good faith attempt to seek amendment or rescission of the BIA’s decision,
she has substantially complied with the statutory and regulatory requirements for exhausting this

Privacy Act claim. Accordingly, this Court has jurisdiction to consider the claim.

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5. Refusal to Amend the Report of Investigation

Through a September 6, 2019 response memorandum, Plaintiff pointed out several critical
errors of fact and law that attended the draft OPR Report of Investigation. She brought these errors
to OPR’s attention before it issued the Final Report on September 27, 2019, but OPR declined to

make the corrections. Exh. 1, at 23-51.

B. The Court Has Ancillary Jurisdiction to Consider Plaintiff’s Privacy
Act Claims.

As Plaintiff has exhausted all available remedies at the administrative agency level and has
timely filed this Privacy Act cause of action within two years of her last adverse personnel action
(i.e., the September 17, 2020 Removal Decision), this Court has jurisdiction to consider this cause

of action.

Defendants contend that Plaintiff did not properly exhaust all of the administrative
procedures prescribed by DOJ regulations. Even assuming this is true, the Privacy Act still
authorizes this Court to entertain this cause of action because Plaintiff has filed the Privacy Act
claims within two year of the September 2019 OPR Final Report and the September 2020 Removal
Decision, including all of the previous adverse personnel actions that they incorporated, discussed,
or relied on. Section 552a(g)(1)(A) and (B) provides that “[w]henever any agency makes a
determination under subsection (d)(3) of this section not to amend an individual’s record in
accordance with his request or fails to make such review in conformity with that subsection,” the
individual may bring suit in federal court to compel the agency to make the requested amendment.

Id.

The Privacy Act further states:

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In any suit brough under the provisions of subsection (g)(1)(A) of this section, the
court may order the agency to amend the individual’s record in accordance with his
request or in such other way as the court may direct. In such a case, the court shall
determine the mater de novo.

5 U.S.C. 552a(g)(2)(A). Plaintiff submits that the Court has jurisdiction to consider her Privacy
Act claims under Section 552a(g)(2)(A) or, alternatively, through its exercise of ancillary
jurisdiction. See generally Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 373, 379-80
(1994) (noting two legitimate forms of ancillary jurisdiction: “to permit disposition by a single
court of claims that are, in varying respects and degrees, factually interdependent; and (2) to enable
a court to function successfully, to manage its proceedings, vindicate its authority and effectuate

its decrees.”’).

Accordingly, and for all the reasons stated above, Defendants’ Motion to Dismiss the FOIA

and Privacy Act cause of action should be denied.
CONCLUSION

For the foregoing reasons, Plaintiff respectfully requests that the Court deny Defendants’

Motion to Dismiss under Rule 12(b)(1) & (6).

Date: November 16, 2021 Respectfully submitted,

bx

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CERTIFICATE OF SERVICE

I certify that on November 16, 2021, I served the foregoing Opposition to Defendants’

Motion to Dismis by first-class mail, addressed to the following:

Joseph F. Carilli, Esquire

Assistant United States Attorney

Civil Division

Office of the United States Attorney
for the District of Columbia

555 Fourth Street, NW

Washington, DC 20530

In addition, a courtesy copy of the Motion was served by electronic mail to the following

email address:

Joseph.carilli@usdoj.gov

Dated: November 16, 2021 Sh 7

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